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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

        I, Daniel J. Senchesak, U.S. Postal Inspector of the U.S. Postal Inspection Service (USPIS)

Cleveland, Ohio, also hereinafter referred to as the "Affiant," being first duly sworn, depose and

state as follows:

                                       INTRODUCTION

1.      I am a United States Postal Inspector, employed by the U.S. Postal Inspection Service

(USPIS) since June of 2007, and currently assigned to Cleveland, Ohio Field Office. I am a sworn

Federal law enforcement officer empowered to investigate criminal activity involving or relating

to the U.S. Postal Service (USPS) and/or U.S. Mail. I am currently assigned to the Contraband

Interdiction and Investigations/ Dangerous Mail Investigations team, which investigates the

mailing of illegal narcotics, their proceeds, and the mailing of prohibited, suspicious, and

dangerous mailings. I have received training in the detection and investigation of prohibited

mailing offenses. I have worked the Dangerous Mail Investigations assignment since 2008, during

which time I have been involved in investigations leading to prosecution in U.S. District Court, as

well as state courts.

2.      I have received training at the United States Postal Inspection Service Federal Law

Enforcement Training Facility, located in Potomac, Maryland, regarding the detection and

identification of prohibited, suspicious, and dangerous mailings and the applicable procedures to

deal with such mailings. As part of my training, I have received additional specialized instruction

about prohibited and dangerous mailings, deployment of screening tools to identify suspicious

mailings, mail screening operations, and various techniques for investigating persons and

organizations engaged in any unlawful conduct through the use of the mail.
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3.     I submit the facts and circumstances set forth in this affidavit show probable cause to

believe that Richard John Steinle is involved in violations of federal law to include: Title 18,

United States Code, Section 1716(j)(1), Injurious Articles as Nonmailable.

4.     The information in this Affidavit is based on your Affiant’s personal knowledge,

information provided by other law enforcement officers and individuals, and the reports and

memoranda of other law enforcement officers. The facts recited in this affidavit are presented

solely for the purpose of establishing probable cause for a criminal complaint and arrest warrant

for Richard John Steinle, who from on or about August 2021 through on or about July 29, 2022,

committed violations of Title 18, United States Code, Section 1716(j)(1). As such, the affidavit

does not set out every fact known in the investigation, but rather seeks only to summarize

relevant information in support of the requested complaint and warrant.

5.     Based upon my training and experience and discussions with other agents and law

enforcement officers concerning the mailing of nonmailable injurious articles, I am aware of the

following:

       a.      That 18 U.S.C. § 1716(j)(1) prohibits a person from knowingly depositing for

mailing or delivery, or knowingly causing to be delivered by mail, according to the direction

thereon, or at any place at which it is directed to be delivered by the person to whom it is addressed,

anything declared nonmailable by § 1716, unless in accordance with the rules and regulations

authorized to be prescribed by the Postal Service.

       b.      That 18 U.S.C. § 1716(a) defines nonmailable matter as all kinds of poison, and all

articles and compositions containing poison, and all poisonous animals, insects, reptiles, and all

explosives, hazardous materials, inflammable materials, infernal machines, and mechanical,

chemical, or other devices or compositions which may ignite or explode, and all disease germs or
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scans, and all other natural or artificial articles, compositions, or material which may kill or injure

another, or injure the mails or other property, whether or not sealed as first-class matter.

        c.      That according to 18 U.S.C. § 1716(b), the Postal Service may permit the

transmission in the mails, under such rules and regulations as it shall prescribe as to preparation

and packing, of any such articles which are not outwardly or of their own force dangerous or

injurious to life, health, or property.

        d.      That according to the United States Postal Service (USPS) Publication 52,

Hazardous, Restricted, and Perishable Mail (“Pub 52”), biological and regulated medical waste are

not permitted in domestic mail except when they are intended for medical or veterinary use,

research, or laboratory certification related to the public health; and only when such materials are

properly prepared for mailing to withstand shocks, pressure changes, and other conditions related

to ordinary handling in transit. This mailing constitutes a risk of exposure for USPS employees

and the addressee to infection or disease. Based on training and experience of I, this mailing falls

under 18 U.S.C. § 1716(a) as a “material which may kill or injure another, or injure the mails or

other property.”

                                          PROBABLE CAUSE

6.      On or about July 3, 2022, I was contacted by Postal Service Management regarding three

letters sent to Ohio State Senators. I obtained consent to search the letters from the senators’

offices, resulting in the identification of suspected feces with the words “pig” and “racist” written

on a paper enclosed.

        7.      On or about July 6, 2022, I was contacted by the Ohio State Capital Sergeant-at-

Arms who advised that they received additional letters addressed to politicians that contained what

appeared to be feces. I retrieved these letters on or about July 8, 2022.
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       8.      Further investigation revealed similar letters were sent to elected officials in

Kentucky, Ohio, and Washington D.C. containing what appeared to be feces since August 2021.

       9.      Each of the seized letters contained what appeared to be feces and listed one of the

following return addresses:

               a.      LKF, 121 S. Main St. #200, Akron, OH 44308;

               b.      LKF, 222 S. Main St. #200, Akron, OH 44308; or

               c.      LKF, 1506 Whitewood Dr., Kent, OH 44240.

       10.     The address of 121 S. Main St. #200, Akron, OH 44308, is the location of the Ohio

9th District of Court of Appeals. All addresses and return addresses on the mailpieces appeared

to be printed on computer generated labels. Postal Inspectors determined that each of the seized

letters were sent from the Akron, Ohio, area.

       11.     Postal Inspectors in Cleveland, Ohio, learned on or about June 14, 2022, that the

U.S. Marshal Service interviewed the court administrator for the Ohio 9th District of Court of

Appeals who advised they had a court staff attorney currently employed with the initials LKF.

Investigators from the U.S. Marshals Service subsequently interviewed LKF who advised they did

not mail the letters containing suspected feces. LKF suspected Rick Steinle (Steinle) may be

involved with mailing the letters. According to LKF, Steinle was previously employed as a

mediator for the Portage County Court of Common Pleas and had been fired. LKF also stated that

1506 Whitewood Drive, Kent, Ohio is LKF’s home address. This address was used as the return

address on several of the letters. LKF stated that Steinle had previously expressed a belief that the

government was watching him and a belief that his firing from the Portage County Court of

Common Pleas violated his First Amendment rights. In addition, Steinle regularly used LKF’s

initials to address them in correspondence and would know both their work and home addresses.
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Finally, LKF stated that they believed Steinle blamed LKF because LKF’s spouse, an attorney,

declined to represent Steinle in his civil suit against Portage County Common Pleas Judge Lori

Pittman.

       12.     A law enforcement database records check showed that Steinle has a current

address of 219 Woodsdale Drive, Mogadore, Ohio, 44260. This is the address of the Target

Premises.

       13.     I am aware based on my training and experience that individuals engaged in a

criminal enterprise involving the mail often use the names of others as the sender of mailpiece

containing contraband. This practice may include co-conspirators without any criminal history,

unwitting residents of the recipient address, or uninvolved parties known to the individuals

engaging in the criminal enterprise. Doing so allows the individuals a sense of separation from

the criminal enterprise and may also be used in an attempt to allay suspicion.

       14.     On or about July 22, 2022, postal employees at the Lakemore, Ohio, Post Office

contacted Postal Inspector Bryon Green (Green) advising they had collected three letters from the

collection box outside of the Lakemore Post Office that were addressed to elected officials in

Columbus, Ohio, listing the return address of LKF, 121 S. Main St. #200, Akron, OH 44308, on

one letter and LKF, 1506 Whitewood Dr. Kent, OH 44240 on two letters. All three letters were

soiled in what appeared to be feces. Green subsequently recovered the letters.

       15.     On July 27, 2022, Green conducted surveillance on Richard John Steinle’s

residence, which is the Target Premises. At approximately 3:50 PM, Green observed Steinle depart

his residence driving a model year 2005 blue Toyota Prius bearing OH license plate 935YCY.

Green followed Steinle to the Post Office located at 2390 Wedgewood Dr., Akron, Ohio 44312,

and observed Steinle mail a letter at the drive-up collection box while wearing a glove. Green
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captured the mailing on video. Green subsequently opened the collection box in the presence of

two Postal Service employees and recovered a letter addressed to Jim Jordan for Congress, P.O.

Box 355, Delaware, OH 43015 listing the return address of LKF, 121 S. Main St. #200, Akron,

OH 44308.

       16.     On July 27, 2022, Green obtained consent from Congressman Jim Jordan’s staff to

search the letter addressed to Jim Jordan for Congress. A search resulted in the identification of a

greeting card containing a one dollar bill and suspected feces. Representatives for Jim Jordan’s

office advised that they had received three similar letters containing return addresses for LKF

which were the same as those previously identified in this investigation.

       17.     On or about July 29, 2022, Postal Inspectors were notified about an additional two

letters containing suspected feces that were addressed to U.S. District Courts in California listing

the return address of LKF, 121 S. Main St. #200, Akron, OH 44308 on both letters. These letters

were received by the courts in June 2022. On or about July 29, 2022, Postal Inspectors were

notified of an additional letter containing suspected feces mailed from the Lakemore, Ohio, Post

Office outside collection box.

       18.     As of August 2, 2022, over three dozen mailings, listing the return addresses of

LKF, 121 S. Main St. #200, Akron, OH 44308, LKF, 222 S. Main St. #200, Akron, OH 44308, or

LKF, 1506 Whitewood Dr. Kent, OH 44240, containing suspected feces have been mailed to

elected officials in Ohio, Kentucky, California, and Washington D.C.
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       19.     Based on the above, I assert that there is probable cause to believe Richard John

Steinle did from on or about August 2021 through on or about July 29, 2022, committed violations

of Title 18, United States Code, Section 1716(j)(1), Injurious Articles as Nonmailable.




                                     ____________________________________
                                     DANIEL J. SENCHESAK
                                     U.S. POSTAL INSPECTOR



On August 3, 2022, this affidavit was sworn to by the affiant, who did no more than attest to its
contents pursuant to Crim. R. 4.1 (b)(2)(A), by telephone after a document was transmitted by
email, per Crim R. 4.1



                                     ___________________________________
                                     CARMEN E. HENDERSON
                                     U. S. MAGISTRATE JUDGE
